                         Case 1-18-45280-nhl               Doc 1        Filed 09/16/18           Entered 09/16/18 16:51:17
                                                                                                                                                 9/16/18 4:47PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Blue Gold Equities LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Seasons
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  68-18 Main Street                                               5 Doughty Blvd.
                                  Flushing, NY 11367                                              Inwood, NY 11096
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Queens                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                         Case 1-18-45280-nhl                     Doc 1      Filed 09/16/18              Entered 09/16/18 16:51:17
                                                                                                                                                      9/16/18 4:47PM

Debtor    Blue Gold Equities LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4451

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                  Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                      Case 1-18-45280-nhl                   Doc 1        Filed 09/16/18             Entered 09/16/18 16:51:17
                                                                                                                                                         9/16/18 4:47PM

Debtor   Blue Gold Equities LLC                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
                       Case 1-18-45280-nhl                 Doc 1         Filed 09/16/18            Entered 09/16/18 16:51:17
                                                                                                                                                     9/16/18 4:47PM

Debtor    Blue Gold Equities LLC                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 16, 2018
                                                  MM / DD / YYYY


                             X   /s/ Joel Getzler                                                         Joel Getzler
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CRO




18. Signature of attorney    X   /s/ Nathan Schwed                                                         Date September 16, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Nathan Schwed
                                 Printed name

                                 Zeichner Ellman & Krause LLP
                                 Firm name

                                 1211 Avenue of the Americas
                                 New York, NY 10036-8718
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     2128265317                    Email address      Nschwed@zeklaw.com

                                  NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                         Case 1-18-45280-nhl             Doc 1       Filed 09/16/18          Entered 09/16/18 16:51:17
                                                                                                                                            9/16/18 4:47PM

Debtor     Blue Gold Equities LLC                                                           Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                   Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Amsterdam Avenue Market LLC                                             Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known
Debtor     Central Avenue Market LLC                                               Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known
Debtor     Lawrence Supermarket LLC                                                Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known
Debtor     Seasons Cleveland LLC                                                   Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known
Debtor     Seasons Clifton LLC                                                     Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known
Debtor     Seasons Corporate LLC                                                   Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known
Debtor     Seasons Express Inwood LLC                                              Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known
Debtor     Seasons Lakewood LLC                                                    Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known
Debtor     Seasons Maryland LLC                                                    Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known
Debtor     Upper West Side Market LLC                                              Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known
Debtor     Wilmot Road Market LLC                                                  Relationship to you               Affiliate
District   SDNY                                       When     8/28/18             Case number, if known             18-12575-MKV
Debtor     Wilmot Road Market LLC                                                  Relationship to you               Affiliate
District   EDNY                                       When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 5
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17
    Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




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                   A&J Produce Corp.
                   NY Terminal Market
                   140A
                   Bronx, NY 10474


                   A-1 Merchandise
                   170 Schuyler Avenue
                   North Arlington, NJ 07031


                   A-liminate Pest Control
                   8718 101 Street
                   Ozone Park, NY 11416


                   A.J. Trucco Inc.
                   343-344C NYC Term. Mkt.
                   Bronx, NY 10474


                   Aleph Bais Dist.
                   209 McLean Blvd.
                   Paterson, NJ 07504


                   Assa Abloy Entrance Sys.
                   P.O. Box 827375
                   Philadelphia, PA 19182


                   B&C Industries
                   55 Onderdonk Avenue
                   Ridgewood, NY 11385


                   Bagel Bites
                   240 60 Street
                   Brooklyn, NY 11220


                   Bais Medrash Ateres Yisra



                   Baked by Bibis LLC
                   2025 East 3rd Street
                   Brooklyn, NY 11223


                   Bank United
                   445 Broadhollow Road
                   Melville, NY 11747
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               Bay Marketing
               86-90 188 Street
               Hollis, NY 11423


               BBM Chocolate Dist.
               248 Flushing Avenue
               Brooklyn, NY 11205


               Best Cookies & More
               500 W. John Street
               Hicksville, NY 11801


               Best Value Kosher Food
               117 Avenue L
               Newark, NJ 07105


               Bethel Creamery
               483 Happy Avenue
               Swan Lake, NY 12783


               Big Geyser Inc.
               57-65 48 Street
               Maspeth, NY 11378


               Bimbo Foods
               P.O. Box 150146
               Kew Gardens, NY 11415-0146


               Bloom Packaging Corp.
               P.O. Box 320192
               Brooklyn, NY 11232


               Blue and White Foods LLC
               72 New Hook Road
               Bayonne, NJ 07002


               Blue Sky Trading
               1556 61 Street
               Brooklyn, NY 11219


               Brand Central
               841 Madison Street
               Brooklyn, NY 11221
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               Broadway Heights Dairy In
               1510 5th Avenue
               Bay Shore, NY 11706


               Brooklyn Batter LLC
               1815 East 21 Street
               Brooklyn, NY 11229


               Bubby Bailee's



               Canada Dry Bottling Co.
               114-02 15 Road
               College Point, NY 11356


               Cazenove Printers
               495 West Broadway
               Cedarhurst, NY 11516


               Chuster Noodle Packaging
               495 West Broadway
               Cedarhurst, NY 11516


               Classic Confections
               5314 16 Avenue
               Ste. 195
               Brooklyn, NY 11204


               Coca Cola
               P.O. Box 4108
               Boston, MA 02211


               Coffee Distributing Corp.
               200 Broadway
               P.O. Box 766
               New Hyde Park, NY 11040-0604


               Cong. Geza Yakov
               199 Lee Ave., #303
               Brooklyn, NY 11211


               Coosemans New York Inc.
               Unit 249 Row B
               NYC Terminal Market
               Bronx, NY 10474
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               Culinary Depot



               D'Arrigo Bros. Co. of NY
               315 Hunts Point Terminal
               Bronx, NY 10474


               Daddy Delish/Chris Libert



               Dagim Tahorim
               1681 54 Street
               Brooklyn, NY 11204


               Davash Farms
               P.O. Box 664
               Monsey, NY 10952


               Dora's Naturals Inc.
               21 Empire Blvd.
               South Hackensack, NJ 07606


               DS Snacks
               87-48 81 Ave.
               Ridgewood, NY 11385


               Dvash Foods USA Inc.
               300 Corporate Drive
               Mahwah, NJ 07430


               E. Armata Fruit & Produce
               114 NYC Term. Market
               Bronx, NY 10474


               East Coast Egg Farms
               3573 Lawson Blvd.
               Oceanside, NY 11572


               Elby Corp.
               1608 Avenue O
               Brooklyn, NY 11230
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               Entermann's
               57-54 Page Place
               Maspeth, NY 11378


               Epic Refrigeration
               112 Capitol Avenue
               2 Fl.
               Williston Park, NY 11596


               Evergreen Waste Corp.
               P.O. Box 250
               Lawrence, NY 11559


               F&W Distributing



               F.E.M. Food Corp.
               30 Steuban Street
               Brooklyn, NY 11219


               Fantastic
               P.O. Box 634
               Carteret, NJ 07008


               Fiber Gourmet Inc.



               Fierman Produce Exchange



               Flaum Appetizing
               288 Scholes Street
               Brooklyn, NY 11206


               Foodco
               5809 2nd Avenue
               Brooklyn, NY 11220


               Ford Motor Credit
               P.O. Box 54200
               Omaha, NE 68154
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               Fresh From the Heart Inc.
               172 Beach 144 Street
               Rockaway Park, NY 11694-1113


               Freund's Fish
               4301 15 Avenue
               Brooklyn, NY 11219


               Galil
               120 Eileen Way
               Syosset, NY 11791


               Gevina Farms Inc.



               Ginas Egoiz
               2 Taitch #2
               Monroe, NY 10950


               Gio Caffe



               Glatt Organics LLC
               P.O. Box 110722
               Brooklyn, NY 11211


               Glicks
               72 New Hook Road
               Bayonne, NJ 07002


               Golden Taste
               318 Roosevelt Avenue
               Spring Valley, NY 10977


               Grab-1
               38 Mariner Way
               Monsey, NY 10952


               Granolachik
               147 Chestnut Street
               Englewood, NJ 07631
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               GS Distribution
               3333 S. Pront Street
               Philadelphia, PA 19148


               Haddar
               72 New Hook Road
               P.O. Box 82
               Bayonne, NJ 07002


               Hatzlacha Dist.
               5114 Ft. Hamilton Pkwy
               NY 11291


               Herr's Foods Inc.
               P.O. Box 300
               Nottingham, PA 19362


               Hershel's
               4702 2nd Avenue
               Brooklyn, NY 11232


               I. Halper
               51 Hook Road
               Bayonne, NJ 07002


               Iberia Foods Corp.
               1900 Linden Blvd.
               Brooklyn, NY 11207


               Ice Cream House
               2 Church Street
               Brooklyn, NY 11218


               ILM
               41 Carman Avenue
               Cedarhurst, NY 11516


               Imperial Bag & Paper Co.
               555 Routes 1 & 9
               Jersey City, NJ 07306


               J&J Dairy Corp.
               100 Trumbull Street
               Elizabeth, NJ 07206
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               J&J Farms Creamery
               57-48 49 Street
               Maspeth, NY 11378


               J. Margiotta Company
               100-105 NYC Terminal Mkt.
               Bronx, NY 10474


               James Hazar



               Katzman Berry Corp.
               213B NYC Terminal Mkt.
               Bronx, NY 10474


               Kehilas Ishei Yisrael



               Kemach Food Products
               9920 Farragut Road
               Brooklyn, NY 11236


               Kenover Marketing Corp.
               72 New Hook Road
               Bayonne, NJ 07002


               Klein's Real Kosher Ice C
               3614 15 Ave.
               Brooklyn, NY 11218


               Kosher First LLC (Tuv Taa
               502 Flushing Avenue
               Brooklyn, NY 11205


               Kosher Fresh Distributors
               P.O. Box 984
               Lakewood, NJ 08701


               Kosher Salads
               182 Nostrand Avenue
               Brooklyn, NY 11205
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               L&N Consulting Group LLC
               c/o Kasowitz Benson Torre
               1633 Broadway
               New York, NY 10019


               L.C. Citrus



               Lantev Distributing Corp.
               10110A Foster Avenue
               Brooklyn, NY 11236


               LBD Produce Inc.
               NYC Terminal Market
               B226
               Bronx, NY 10474


               Le Chocolate of Rockland
               1 Ramapo Avenue
               Suffern, NY 10901


               Lieber's Kosher Food Spec
               90 E. 5th Street
               Bayonne, NJ 07002


               M&K Food Distributing Inc
               5 Lorimer Street, Ste. 1B
               Brooklyn, NY 11206


               M&M Salad Dist. Inc.
               383 Kingston Ave.
               PMB #290
               Brooklyn, NY 11213


               Main Five Co.
               Lewis & Murphy Realty Inc
               47 Hillside Ave. 1st Fl.
               Manhasset, NY 11030


               Main Street Auto Center
               67-20 Main Street
               Fresh Meadows, NY 11365
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               Main Street Bake Shop
               P.O. Box 110736
               Brooklyn, NY 11211


               Marine Park Distribution
               1521 East 32 Street
               Brooklyn, NY 11234


               Mayim Chaim
               626 Whittier Street
               Bronx, NY 10474


               Mechis Deli Corp.
               741 East 9 Street
               Brooklyn, NY 11230


               Mehadrin Ice Cream
               100 Trumbull Street
               NJ 07276


               Met Speed Label
               P.O. Box 850
               Levittown, PA 19058


               Mohammed Toom
               29 53 Street
               Brooklyn, NY 11232


               Nassau Provisions Kosher
               200 Albany Avenue
               Freeport, NY 11520


               Nathel & Nathel
               NYC Terminal Market
               357 Row C
               Bronx, NY 10474


               Natural & Tasty LLC
               267 1/2 Verona Avenue
               Newark, NJ 07104


               Natural Earth Products
               670 Thomas S. Boyland St.
               Brooklyn, NY 11212
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               NC Tov
               1484 55 Street
               Brooklyn, NY 11219


               Ner Mitzvah Inc.
               101 West 7 Street
               Bayonne, NJ 07002


               Neviot Corporation
               1143 East 8th Street
               Brooklyn, NY 11230


               Nounos Creamery
               606 B. Rutgers Road
               West Babylon, NY 11704


               NYS Sales Tax Processing
               P.O. Box 15172
               Albany, NY 12212-5172


               Oberlander Baking Co.
               555 Cortlandt Street
               Belleville, NJ 07109


               Old World Marketplace
               P.O. Box 144
               NY 10740


               Oppenheimer Chocolate USA
               171 Long Avenue
               Hillside, NJ 07205


               Osem USA
               333 Sylan Avenue
               Englewood Cliffs, NJ 07632


               Paleo Passion Foods LLC
               15 Valley Drive
               Greenwich, CT 06831


               Paradise Distributors LLC
               3592 Bedford Avenue
               Brooklyn, NY 11210
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               Paradise Plastics
               3301 Avenue M
               Brooklyn, NY 11210


               Paskesz
               4473 1st Avenue
               Brooklyn, NY 11232


               Pepsi Cola Bottling Co.
               114-02 15 Avenue
               College Point, NY 11356


               PMT Forklift
               148-14 Liberty Avenue
               Jamaica, NY 11435


               Popinsanity
               80 Wilder Road
               Suffern, NY 10901


               Print On Point
               413 Central Avenue
               Cedarhurst, NY 11516


               Progressive Valet Parking



               Quality Frozen Foods Inc.
               P.O. Box 04-0322
               Brooklyn, NY 11204


               Quality Glatt NJ Corp.
               383 Kingston Avenue
               Ste. 262
               Brooklyn, NY 11213


               R&T Distributing



               Raskins Fish Market
               320 Kingston Avenue
               Brooklyn, NY 11213
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               RGIS
               P.O. Box 77631
               Detroit, MI 48277


               Royal Donuts
               1274 49 Street, PMB 387
               Brooklyn, NY 11219


               RPE LLC



               RT Direct Distributors
               750 Chesnut Ridge Road
               Ste. 306
               Spring Valley, NY 10977


               Rubin Brothers Produce Co
               147-148 Row A
               NY Terminal Market
               Bronx, NY 10474


               S&R Trading
               47-02 Metropolitan Avenue
               Ridgewood, NY 11385


               S. Katzman Produce
               NYC Terminal Market
               213B
               Bronx, NY 10474


               SBP International Inc.
               701 39 Street
               Brooklyn, NY 11232


               Senneth Distribution
               24 Ronald Drive
               Monsey, NY 10952


               Setton International Food
               85 Austin Blvd.
               Commack, NY 11725


               Signatures by ML Inc.
               1332 58 Street
               Brooklyn, NY 11219
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               SKNY LLC
               200 Public Square
               Ste.2500
               Cleveland, OH 44114


               Snapple
               33-12 211 Street
               Bayside, NY 11361


               Springfield Group
               5600 First Ave.
               Brooklyn, NY 11220


               Sunrise Snacks of Rocklan
               787 East 27 Street
               Paterson, NJ 07504


               Superior Linen Supply Inc
               8 Quickway Road, Unit 101
               Monroe, NY 10950


               The Circle
               235 River Avenue
               Lakewood, NJ 08701


               The Kosher Cook LLC
               P.O. Box 329
               Cedarhurst, NY 11516


               The Kosher Edge



               The Rebbe's Choise
               75-02 137 Street
               Flushing, NY 11367


               Thomas
               57-54 Page Place
               Maspeth, NY 11378


               Top Banana LLC
               413-420 Row D
               NYC Terminal Market
               Bronx, NY 10474
Case 1-18-45280-nhl   Doc 1   Filed 09/16/18   Entered 09/16/18 16:51:17




               Twenty Four Six Food Inc.
               961 Elton Street
               Brooklyn, NY 11208


               Universal Beverages
               5314 16 Avenue, #119
               Brooklyn, NY 11204


               Upstate Dairy
               54 Walworth Street
               Brooklyn, NY 11205


               Upstate Marketing Co.
               23 Schunnemunk Road
               Unit 101
               Monroe, NY 10950


               Vaad Harabonin of Queens
               141-49 73 Avenue
               Flushing, NY 11367


               Webest Inc.
               262 Heyward Street
               Brooklyn, NY 11206


               Whitey Produce Co. Inc.
               46-48-49 Bklyn Term. Mkt.
               Brooklyn, NY 11236


               Y&S Coffee Co.
               350 Campus Drive
               Somerset, NJ 08873


               Yated Ne'eman
               232 Martin Luther King Dr
               Lakewood, NJ 08701


               Yonis Food LLC
               485 Beverly Road
               Teaneck, NJ 07666


               Zevi's Fish
               1685 McDonald Avenue
               Brooklyn, NY 11230
